Case: 3:18-0v-0®&32@jdp@@@qpm@ral#¢§§SFMD§£O?/l$ Page 1 Of 3
Civil ProceSS
115 WeSt Doty Street
MADISON, WI 53703

Process Numher: 18005353 Court Number: 2018CV000532

I, David J. Mahoney, Sheriff of Dane County, do hereby certify that l received
the within and foregoing SUMMONS, COMPLAINT on 24th day of July, 2018, and that

I Served the Same on:

CUMMINS INC (Defendant)
8040 EXCELSIOR DR STE 400
MADISON, WI 53717

Served on: 27th day of July, 2018 at 08:35:40 by Hancock Timothy
Served tO: JOHN LONG_CLERK (DESIGNEE)
8040 EXCELSIOR DR STE 400
MADISON, WI 53717.
Returned on the 27th day of July, 2018
I also certify that I endorsed on the Said copy the date of Service, Signed my

name, and added my official title thereto.

Dated the 27th day of July, 2018

David J. Mahoney, Sheriff
Dane County Sheriffs Office, WiSconSin

 
  

BY: AQLi
ylSheriff
ivil ProceSS

Remarks:
27th day of July, 2018 at 08:35:40
SERVED FILED SUMMONS AND COMPLAINT. CUMMINS, INC.

Case: 3:18-CV-00532-jdp Document #: 3 Filed: 08/07/18 Page 2 of 3
Case: 3:18-cV-00532-jdp Document #: 2 Filed: 07/12/18 Page l of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Wisconsin |:l

 

ACE AMER|CAN |NSURANCE COMPANY, as
subrogee of The Stone Point Trust

 

Plaintiff(s)

V. Civil Action No. 18-CV-532

CUMN||NS, |NC., and BRUNSW|CK CORPORAT|ON

\./\./\/\./\./V\./VV\/\./\./

Defendant(s)
SUMMONS IN A CIVIL ACTION

TOZ (Defendant s name and address) Cummins, |nc_
\/

c/o R/A Corporation Service Company'
8040 Exce|sior Drive, Suite 400
Madison, W| 53717

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described m Fed R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

Ma tthew S. McLean

Leahy, Eisenberg & Fraenke|, Ltd.
33 West Monroe Street, Suite 1100
Chicago, |l|inois 60603 _

If you fail to respond, judgment by default will be entered against you for the relief demanded m the complaint
You also must file your answer or motion with the couit.

cLERK 0F coURT z l

Date; 7/12/2018 _ VW Qé¢w
Signat'11)e ofCler/c 0) Dep1 CIe)/\

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Case: 3:18-cV-00532-jdp Document #: 3 Filed: 08/07/18 Page 3 of 3
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

 

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Cl`v. P. 4 (l))

ThiS Sun'll’l'lOI‘lS for (name of individual and title, ifany) C\J“,v\ m.\ “ g F/LC/

 

was received by me on (date)

I:l l personally served the summons on the individual at (place)

 

011 (date) ; OI`

 

Cl I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

on (date) , and mailed a copy to the individual’s last known address; or

B{served the summons on (name ofindividual) 157/h n m 4 /C /Cr(Q , who is

designated by law to accept service of process on behalf of (name ofolrgantz/an;n) ` fgt @_) CCA`FC(O:“M
<<f~/tcc CCYV\@ ‘<re-/ en (d‘"e) 71 22 Z/fk 5"!3$',‘§ g

El I returned the summons dnexecuted because t ; or

 

ij Other (specijj/).'

My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date: '7~ 27»/ f ’W/ v,////
'/%Z Server's signature

emma /nama "D¢_n»t+y gone

Printed name and title

//f ofde sat memo/1 ¢q:

erver's address

 

Additional information regarding attempted service, etc:

